Case 1:17-cv-00245-DLI-VMS   Document 16-7   Filed 09/28/17   Page 1 of 40 PageID
                                   #: 193




                             Exhibit “G”
Case 1:17-cv-00245-DLI-VMS        Document 16-7      Filed 09/28/17    Page 2 of 40 PageID
                                        #: 194




                         RESTATED TRUST AGREEMENT
                     OF THE PLUMBERS LOCAL UNION NO. 1
                        VACATION AND HOLIDAY FUND

       ,J.           THIS TRUST AGREEMENT is made and entered into effective the
       r   J   .   _.,_,-t:,-~
  .J!!j_ day of I..XP''-".'1999 in the State of New York, by .and between Plumbers Local
  Union No. 1 (hereinafter referred to as the "Union"}, the Association of Contracting

  Plumbers of the City of New York, Inc. (hereinafter referred to as the "Association"}       I!
  on behalf of Employers (hereinafter referred to as "Employers"} who may from time           I
                                                                                              I


  to time make payments to the Trust herein created pursuant to Collective Bargaining

  Agreements and the Trustees designated as described herein.

                     WHEREAS, the parties hereto believe that it is in the best interest of

  the employees represented by the Union, and the families and dependents of these

  employees, to provide for vacation and holiday benefits and for that purpose continue

  this Trust Fund; and
                                                                                              I
                     WHEREAS, the parties to this Trust have entered into Collective
                                                                                              I
                                                                                                  I
  Bargaining Agreements which provide, among other things,· that the Employers will

  make payments to a Vacation and Holiday Fund to provide benefits to employees

  covered by the Collective Bargaining Agreements, and
                                                                                                  I
                     NOW, THEREFORE, in consideration of the promises and of the

  mutual agreements contained in this Trust Agreement, the parties hereto agree to and

  adopt all of the terms and provisions contained herein and the Trustees declare that            l·
  they will receive, hold, use and apply the payments and any other mt;mey or property
                                                                                                  l
                                                                                                  I

                                                                                                  I
                                              1
Case 1:17-cv-00245-DLI-VMS       Document 16-7         Filed 09/28/17   Page 3 of 40 PageID
                                       #: 195




  which may come into their hands as Trustees for the exclusive benefit of the

  employees and their beneficiaries upon the terms, conditions and trusts, hereinafter

  stated.

                                        ARTICLE I
                                       DEFINITIONS

                   Unless the context or subject matter requires otherwise, the

  following definitions will govern in this Trust Agreement:

                   Section 1. Collective Bargaining Agreement. "Collective Bargaining

  Agreement" means a written labor contract or other written agreement between the

  Union and an Employer or the Association which requires payments to this Fund in a

  manner acceptable to the Trustees together with any modifications, supplements or

  amendments thereto.       The term also includes a written agreement between the

  United Association or a local or state labor orgimization and Employers or an

  Employer association or a signed participation agreement between the Fund and an

  Employer or Employer association which requires payments to this Fund in a manner

  acceptable to the Trustees.

                   Section 2. Union. "Union" means Local Union No. 1 affiliated with

  the United Association of Journeymen and Apprentices of the Plumbing and

  Pipefitting Industry of the United States and Canada.

                   Section 3.   Association.       "Association" means the Association of

  Contracting Plumbers of the City of New York, Inc.



                                               2
Case 1:17-cv-00245-DLI-VMS         Document 16-7        Filed 09/28/17   Page 4 of 40 PageID
                                         #: 196




                     Section 4. Employer. "Employer" means:

                     a. An employer which is a member of or is represented in collective

   bargaining by the Association and which is bound by a Collective Bargaining

  Agreement providing for payments to the Trust Fund including payments with respect

  to employees represented by the Union or with respect to other employees of the

  employer approved by the Trustees, or which is otherwise required to make such

  payments.

                     b.    An employer which is not a member of or represented in

  collective bargaining by the Association but which has executed a Collective

  Bargaining Agreement providing for payments to the Trust Fund including payments             I
                                                                                               i
  with respect to employees represented by the Union or with respect to other

  employees of the employer approved by the Trustees, or which is otherwise required           I
  to make such payments.                                                                       I
                                                                                               I


                     c.    An employer which has by agreement with the United

  Association agreed to make payments into the Trust Fund for work performed within

  the territorial or trade jurisdiction of the Union.

                     d. The Union, for the purpose of making payments into the Trust

  Fund as the employer of the employees of the Union for whom the Union agrees to

  contribute to the Trust Fund in accordance with the rules adopted by the Trustees.

                     e.   A state or local labor organization, .for the purpose of making




                                                3
     Case 1:17-cv-00245-DLI-VMS      Document 16-7     Filed 09/28/17    Page 5 of 40 PageID
                                           #: 197




       payments into the Trust Fund as the employer of the employees of such labor

       organizations who were previously participants in this Fund for which such labor

       organizations agree to contribute to the Trust Fund in accordance with the rules

       adopted by the Trustees.

                        f.   This Trust Fund or other trust funds to which the Union is a

       party, and the Plumbing Industry Board as the administrative office of the Local 1

       Funds, for the purpose of making payments into this Trust Fund as the employer of

       employees of such trust funds for which such trust funds agree to contribute to this

       TrustFund in accordance with the rules adopted by the Trustees.

                        g. The Association, for the purpose of making payments into the

·(     Trust Fund as the employer of employees of the Association for which the

       Association agrees to contribute to the Trust Fund in accordance with the rules

       adopted by the Trustees.

                        Provided, however, that the foregoing reference to the Union, or

       state or local labor organizations and trust funds as "Employers" will not convey to

       these organizations any right or privilege granted by this Trust Agreement to

       Employers who are contractors.

                        Section 5. Employee .. "Employee" means those employees who are

       employed by any Employer as defined in Article I, Section 4, and on whose behalf

       payments are required to be made to the Fund pursuant to a Collective Bargaining




                                                4
Case 1:17-cv-00245-DLI-VMS        Document 16-7          Filed 09/28/17   Page 6 of 40 PageID
                                        #: 198




  Agreement and such other persons as the Trustees determine to be employees under

  the Plan of Benefits.     The Trustees have the authority to adopt rules covering

  eligibility, termination of eligibility, reinstatement of eligibility, reporting and record

  keeping    requirements for Employees.        The Trustees have the authority to adopt

  contribution requirements for Employees who participate in the Fund under an

  agreement with the Trustees.

                    Section 6.   Beneficiary.       "Beneficiary" means a person designated

  by an Employee or by the terms of the Plan of Benefits created pursuant to this Trust

  Agreement, who is or may become entitled to a benefit from this Fund.

                    Section 7.    Trustees.     "Trustees" means the Trustees designated

  and appointed in accordance with the terms of this Trust Agreement.
                                                                                                I
                    Section 8.     Trust Agreement.        -"Trust Agreement" means this        I
  document including any amendments, supplements and modifications hereto.
                                                                                                I
                    Section 9.     ERISA.       "ERISA" means the Employee Retirement

  Income Security Act of 1974, any amendments as may from time to time be made

  and any regulations promulgated pursuant to the provisions of ERISA.

                    Section 10. Plan of Benefits. "Plan of Benefits" means the program

  of benefits, which may include. vacation and holiday and other benefits, established

  by the Board of Trustees pursuant to this Trust Agreement and as subsequently

 amended by the Trustees.




                                                5
Case 1:17-cv-00245-DLI-VMS          Document 16-7   Filed 09/28/17    Page 7 of 40 PageID
                                          #: 199



                                                                                            I
                                                                                            I

                    Section 11. Trust Fund. " Trust Fund" or "Fund" means the Trust

  'Fund provided for in this Trust Agreement, and means generally the monies,

  investments, insurance policies and other things of value which comprise the corpus,

  income and additions to the Trust Fund.

                                     ARTICLE II
                          CONTINUATION OF THE TRUST FUND

                    Section 1.      Continuation of the Trust Fund.     This Agreement

  continues a Trust Fund known as the Plumbers Local Union No. 1 Vacation and

  Holiday Fund.

                    Section 2.   Composition of Trust Fund.   The assets of this Trust

  ,Fund consist of {1 l the sums of money that have been or will be paid or which are

  ~due   and owing to the Fund by the Employers as required by Collective Bargaining

  Agreements;- {2) the sums of money that have been or may be paid to the Fund by

  Employees;

  {3) all investments made therewith, the proceeds thereof and the income therefrom;

  {4) all policies of insurance including dividends, interest, refunds, or other sums

  payable to the Trustees on· account of said policies; {5) all other payments and              I
  payments to or due and owing tci the Trustees from any source to the extent
                                                                                                I
  permitted by law; and {6) supplies, property and other assets used by the Trustees in

  the administration of the Fund.

                    Section 3. Purpose of Trust Fund. The Trust Fund created by this




                                             6
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17   Page 8 of 40 PageID
                                       #: 200




  Trust Agreement is for the purpose of providing (1l vacation and holiday and other

  benefits that may be permitted by law under a plan of benefits adopted by the

  Trustees and (2) the means· for financing the expenses of the Trustees in the

  operation and administration of the Trust Fund, in accordance with this Trust

  Agreement. This Trust is a multi-employer plan as that term is defined in Section

  3{37) of ERISA.

                    Section 4.   Irrevocable Purpose.   The Trust created by this Trust

  Agreement is an irrevocable trust established for the exclusive benefit of employees,

  in accordance with Section 302(c) of the Labor-Management Relations Act of 1947,

  as amended by Public Law 86-257, 1959, and in accordance with ERISA.

                                      ARTICLE Ill
                                  BOARD OF TRUSTEES

                    Section 1. Board of Trustees. The operation and administration of

  the Fund will be the responsibility of a Board of Trustees, composed of eight (8}

  Trustees, four (4) of whom will be Employer Trustees, designated and appointed by

  the Association, and four (4} of whom will be Union Trustees, designated and

  appointed by the Union.

                    There may also be up to eight (B) alternate Trustees. Up to four (4}

  of the alternate Trustees may be appointed by the Union and up to four (4} of the

  Alternate Trustees may be appointed by the Association.       The Alternate Trustees

 shall serve in the place of any of the Trustees who are unable to .attend a regular or




                                             7
Case 1:17-cv-00245-DLI-VMS        Document 16-7      Filed 09/28/17    Page 9 of 40 PageID
                                        #: 201




  special meeting of the Trustees or who are temporarily incapacitated from serving.

  At or before a meeting, the Union and the Association may designate one or more of

  the Alternate Trustees to serve in the place, of any absent Union or Association

  Trustees respectively.

                    The composition of the Board of Trustees may be changed at any

  time by majority vote of the Trustees.

                    Section 2. Acceptance of Trusteeship. Each Trustee and Alternate

  Trustee will sign a written acceptance and thereby will accept the Trust established

  by this Trust Agreement, will consent to act as Trustee and will agree. to administer

  the Trust Fund as provided in this Trust Agreement. The written acceptance will be

  in a form satisfactory to the Trustees and consistent- with ERISA and will be filed at

  the office of the Fund.

                    Section 3.    Appointment and Removal of Trustees.           Trustees

  representing the Employers will be appointed by the Association from among the

  members of the Association who are Employers or officers of Employers.              Any

  Employer Trustee may be removed from office at any time for any reason by the

  Association.   Trustees representing the Union will be appointed by the Union from         I
  among the officers of the Union. A Union Trustee may be removed from office at

  any time, for any reason, by the Union. Any such appointment or termination will be

  effective as stated in a written notice which will be given to the remaining Trustees.

                    Section 4. Name.       The Trustees will conduct the business of the




                                              8
Case 1:17-cv-00245-DLI-VMS          Document 16-7       Filed 09/28/17     Page 10 of 40 PageID
                                           #: 202




  Fund and execute all documents in the name of the Plumbers Local Union No. 1

  Vacation and Holiday Fund.

                      Section 5.    Resignation and Replacement of Trustees.        A Trustee

  may resign and become and remain fully discharged from all further duty or

  responsibility under this Trust Agreement by giving thirty (30) days' written notice of

  such resignation to the Co-Chairmen of the Board of Trustees, or such notice as the

  ·remaining Trustees may accept as sufficient .. The notice will state the date on which

  the resignation will take effect and the resignation will take effect on the date .stated

  in the notice unless a successor Trustee Is appointed at an earlier date, in which

  event the resignation will fake effect immediately upon the appointment of the

  successor Trustee.

                      In   the   event   of   the -resignation,   death,   incapacity   or the
                  -
  unwillingness of any of the Trustees to serve, a successor Trustee will be designated

  by the Union or Association, as applicable, in accordance with this Trust Agreement.

   The remaining Trustees will be notified of such designation in writing.

                      Any successor Trustee designated as provided in this Trust
                                                                                                  I
  Agreement will sign an acceptance of this Trust Agreement as provided in Section 2

  of this Article, and will thereby become vested with all the rights, powers, discretion

  and duties of his predecessor Trustee.

                      Any retiring or terminated Trustee will promptly turn over to the

  remaining Trustees at the office of the Fund any and all records, books, documents,




                                                 9
Case 1:17-cv-00245-DLI-VMS       Document 16-7       Filed 09/28/17    Page 11 of 40 PageID
                                        #: 203




   monies and other property in his possession which are a part of the Trust Fund and

   related to the fulfillment of the Trustees' duties and responsibilities under this Trust

   Agreement.

                    The powers of the Trustees to act, as provided in this Trust

  Agreement, will not be impaired or limited in any way pending the designation of a

  successor Trustee to fill any vacancy.

                    Section 6. Term of Trustees. A Trustee will continue to serve until

  his death, incapacity, resignation, removal, or expiration of his term as established by

  .the Union or Association, as applicable, designating the Trustee.

                    Section 7.   Payment of Trustees.     The Trustees may not receive

  :compensation for the performance of their ·duties but may be reimbursed, in

  ,:accordance with ERISA, for any reasonable and necessary expense which they may

  :incur in the performance of their duties.

                                    ARTICLE IV
                      MEETINGS AND DECISIONS OF THE TRUSTEES

                    Section 1. Officers of the Trustees. The Trustees will select from

  among themselves two Co-Chairmen of the Trustees to serve for a period which they

  will deteimine.    One Co-Chairman will be selected from among the Union Trustees

  and the other Co-Chairman will ba selected from among the Employer Trustees.

                    Section 2.    Meetings of the Trustees.     Regular meetings of the

  Trustees will be held at such times and places as determined by the Co-Chairmen.




                                               10
Case 1:17-cv-00245-DLI-VMS        Document 16-7       Filed 09/28/17    Page 12 of 40 PageID
                                         #: 204




   Reasonable notice of the meetings will be provided, except that meetings may be

   held ~:~t a.ny time without notice if all the Trustees consent thereto in writing. Special

   meetings may be called by either Co-Chairman upon three (3) days' written notice.

  The Trustees will meet at least once each year and at such other times as they find it

   necessary to conduct their business.

                     Section 3. Action of Trustees Without Meeting. The Trustees may

   also take action without a meeting, in writing or by telephone conference call,

   provided that, in such cases, there must be unanimous agreement of all Trustees.
                                                                                                I
                     Section 4.    Quorum.     In any meeting of the Trustees, four (4)
                                                                                                I
   Trustees, consisting of at least two (2) Union Trustees and at least two (2) Employer

   Trustees, will constitute a quorum for the conduct of business. At all meetings, the
                                                                                                I
 : Employer and Union Trustees will have equal voting strength.                                 I
                    Section 5. Majority Vote of Trustees. All action by the Trustees

   will be by majority decision of the Union Trustees present and voting and the majority

   decision of the Employer Trustees present and voting.           This requirement for a

  decision by a majority of both Union and Employer Trustees voting will apply not only

  to this Article but to any portion of this Trust Agreement which refers to action by

  the Trustees.    If any matter presented to the Trustees for a decision cannot be

  decided because there is no quorum at two s.uccessive regular or special meetings, or

  because of a tie vote at any meeting, the matter may be submitted to arbitration, as




                                              11
Case 1:17-cv-00245-DLI-VMS       Document 16-7    Filed 09/28/17    Page 13 of 40 PageID
                                        #: 205




  stated in Article IX of this Trust Agreement.

                   Section 6.     Minutes of Meetings.     The Trustees or someone

  designated by them will keep minutes of all meetings. The minutes need not be

  verbatim. Copies of the minutes will be sent to all the Trustees and to other persons    I
  as the Trustees may direct. Minutes of a meeting will be reviewed and approved by
                                                                                           I
  the Trustees at the next meeting.
                                                                                           I
                                   ARTICLE V
                          POWERS AND DUTIES OF TRUSTEES

                   Section 1 •   Conduct of Trust Business.    The Trustees have the
                                                                                           I
  authority to control and manage the operation and administration of the Fund and will

  conduct the business and activities of the Fund in accordance with this Trust
                                                                                           I
  Agreement and applicable law. The Trustees will hold, manage and protect the Trust       !
                                                                                           I
  Fund and collect the income therefrom and payments thereto. The Trustees are the

  "Named Fiduciary" and the "Administrator" of the Fund as those terms are defined in

  ERISA.

                   Section 2. Use of the Trust Fund for Expenses and to Provide

  Benefits.

                   (a)    The Trustees have the power and authority to use and apply       I
                                                                                           I
  the Trust Fund to pay or provide for the payment of all reasonable and necessary

  expenses (i) to collect Employer and/or Employee payments and other monies and




                                            12
Case 1:17-cv-00245-DLI-VMS        Document 16-7     Filed 09/28/17    Page 14 of 40 PageID
                                         #: 206




   property to which they may be entitled and (ii) to administer this Trust Fund,

   including the purchase or lease of premises, material, supplies and equipment, (iii) to

   obtain such legal, actuarial, consulting, investment, administrative, accounting,

   clerical and other services as they determine to be necessary or appropriate, and (iv)

   to perform such other acts as the Trustees, in their sole discretion, find necessary or

   appropriate to perform their duties.
                                                                                             I.
                    (b)    The Trustees have the power and authority to use and apply

   the Trust Fund to pay or provide for the payment of vacation and holiday and other

  benefits to eligible Employees and Beneficiaries in accordance with the terms,

  :provisions and conditions of the Plan of Benefits adopted by the Trustees pursuant to

  this Trust Agreement.

                    Section 3. Construction and Determinations by Trustees.       Subject

  to the purposes of the Fund and the provisions of this Trust Agreement, the Trustees

  have full and exclusive discretionary authority to determine all questions of coverage

  and eligibility, method of providing for benefits and all other related matters. They

  have full discretionary power to interpret the provisions of this Trust Agreement and

  the Plan of Benefits, and the terms used in these documents and any rules and
                                                                                              II
  regulations issued in connection with these documents. Any such determination and            I
  any such interpretation adopted by the Trustees in good faith will be binding upon the

  Union, Association, Employers, Employees and their Beneficiaries.




                                             13
Case 1:17-cv-00245-DLI-VMS       Document 16-7     Filed 09/28/17    Page 15 of 40 PageID
                                        #: 207




                                                                                            I
                    Section 4.   General Powers. In addition to other powers set forth      l
  herein or conferred by law, the Trustees are hereby empowered to:
                                                                                            I
                    (a)    demand, collect, receive and hold payments and take any

  action which they may find necessary or desirable to collect payments due the Trust

  Fund;

                    (b)    compromise, settle, arbitrate·· and release claims or demands

  in favor of or against the Trust Fund or the Trustees on such terms and conditions as

  the Trustees may determine to be advisable; commence or defend any legal,

  equitable or administrative proceedings brought in connection with the Trust Fund

  and represent the Trust Fund in all such proceedings;

                    (c)    pay or provide for the payment of all reasonable and

  necessary .expenses of collecting payi"T!ents;

                    (d)    enter into any and all contracts and agreements for carrying

  out the terms of this Trust Agreement and the administration of the Fund;

                    (e)    enter into an investment contract or agreement with one or

  more insurance companies for the investment and reinvestment of assets of the Trust

  Fund;

                    (f)    invest, reinvest and have invested and reinvested assets of

  this Trust Fund, without distinction between principal and income, in any type of

  investment the Trustees determine to be prudent. There is no limitation restricting




                                             14
Case 1:17-cv-00245-DLI-VMS       Document 16-7       Filed 09/28/17    Page 16 of 40 PageID
                                        #: 208




   investments in common stock to a percentage of the Trust Fund or to a percentage

  of the total mark~;~t value of the Fund. The ·rrustees have the authority, with respect

  to any stocks, bonds or other real or personal property which they hold as Trustees,

  to exercise all the rights, powers and privileges which might be lawfully exercised by

  a person owning similar property in his own right;
                                                                                              I
                    (g)    register securities or other Trust Fund property in the name of

  the Trust Fund or of the Trustees, or in the names of one or more nominees of the

  Trustees and to hold instruments in bearer form;

                    (h)    enter into and terminate agency or custody agreements with

  a bank, trust company or other custodian chosen by them, under which agreements

  the Trustees may turn over to such bank, trust company or other custodian all or a

  portion of the funds held by them in this Trust for safekeeping, investment or

  reinvestment, on such terms as the Trustees determine to be advisable;

                    {i)    invest the assets of the Fund in a common, collective, or

  commingled trust fund, to the extent permitted by ERISA and other applicable law.

  To the extent monies or other assets are transferred to a collective trust in exchange

  for an interest in the collective trust, the terms and conditions of the collective trust

  alone will govern the investment duties, responsibilities and powers of the trustees of

  the collective trust, and to the extent required by law, those terms, responsibilities,

  and powers will be incorporated herein by reference and will be part of this Trust




                                             15
Case 1:17-cv-00245-DLI-VMS          Document 16-7    Filed 09/28/17    Page 17 of 40 PageID
                                           #: 209




                                                                                              I
                                                                                              I
   Agreement;

                      (j)    sell, exchange, lease, convey, mortgage or dispose of any real

   or personal property, which is at any time a part of the Trust Fund, on terms which

   the Trustees determine to be proper, and to execute and deliver any and all

   instruments of conveyance, lease, mortgage or transfer in connection therewith;

                      (k)     pay or provide for the payment of all real and personal

   property taxes, income taxes and other taxes levied or assessed under applicable law

   upon or with respect to the Trust Fund or any money, property, or securities forming

   a part of the Fund;

                      (I)    retain such po11ion of the assets of the Trust Fund in cash or

   cash equivalents as the Trustees may determine to be desirable, without any liability

  .. for interest on such assets;

                      (m)    establish. and accumulate as part of the Trust Fund such

   reasonable reserve funds as the Trustees, in their sole discretion, determine to be

   necessary or desirable to carry out the purposes of the Trust Fund;

                      (n)    allocate fiduciary responsibilities among the Trustees, or

  committees of the Trustees, delegate fiduciary duties to persons other than the

  Trustees, and delegate Trustee responsibilities to an investment manager as provided

  in. this Trust Agreement and in accordance with the requirements of ERISA;

                      (o)    appoint one or more investment managers, as that term is




                                              16
Case 1:17-cv-00245-DLI-VMS          Document 16-7   Filed 09/28/17     Page 18 of 40 PageID
                                           #: 210




  defined in ERISA, and enter into an agreement with such investment managers, in

  accordanqe with the requirements of ERISA, delegating to the investment manager

  the respon~?ibility to control and manage, acquire and dispose of all or a portion of the

  assets of the Trust Fund which the Trustees may specify;

                       (p)   enter into an agreement with an administrative manager or

  establish an arrangement in cooperation with related benefit funds to establish an

  administrative office or offices of the Trust Fund and of the Trustees under the

  direction of the Trustees or a committee of the Trustees. The administrative office

  :will coordinate and administer the accounting, bookkeeping and clerical services,

·. provide for the coordination of actuarial services furnished by the consulting actuary,

 :,pr.epare   (in   cooperation   where appropriate with the    consulting actuary     and

  'independent auditor) all reports and other documents to be prepared, filed or

  distributed by the Trust Fund in accordance with law, assist in the collection of

  amounts due to the Trust Fund by Employers and Employees and perform such other

  duties and furnish other services as may be assigned,       delegated or directed or as

  may be contracted by or on behalf of the Trustees;

                       (q)   employ a qualified investment consultant to assist the

  Trustees in exercising their investment powers and authority by reviewing the

  investment performance, the investment policy and the types and kinds of

  investments made by the Trustees and/or the investment manager(s);




                                             17
Case 1:17-cv-00245-DLI-VMS        Document 16-7      Filed 09/28/17     Page 19 of 40 PageID
                                         #: 211




                    (r)    engage one or more independent certified public accountants,

   enrolled actuaries and qualified legal counsel to perform all services as may be

   required by applicable law and such other services as the Trustees may determine to

   be necessary;

                    (s)    pay or provide for the payment from the Trust Fund of all

   costs incurred in obtaining the services of professionals, consultants, managers and

   other providers or services to the Fund as the Trustees determine to be necessary

   and in accordance with this Trust Agreement and applicable Jaw;

                    (t)    designate an agent for service of legal process for the Trust

   Fund;

                    (u)    obtai~ policies of insurance, to the extent permitted by law,


  to insure the Trustees, the Trust Fund, employees and agents of the Trustees and of

  the Trust Fund or the administrative office while engaged in business and related

  activities for and on behalf of the Trust Fund (i) with respect to liability as a result of

  acts, errors or omissions of the Trustees, employees or agents, and (ii) with respect

  to injuries or property damage.       The cost of the premiums for such policies of

  insurance will be paid out of the Trust Fund to the extent permitted by ERISA;

                    (v)    enter into reciprocal agreements (on such terms as the

  Trustees determine to be advisable) with trustees of other vacation and holiday

  funds. to permit Employees covered by this Fund to receive credit in this Fund when




                                              18
Case 1:17-cv-00245-DLI-VMS       Document 16-7          Filed 09/28/17   Page 20 of 40 PageID
                                        #: 212


                                                                                                I
                                                                                                \

  working outside the geographical and/or trade jurisdiction covered by Collective

  Bargaining Agreements, as defined in this Trust Agreement, and to receive from other

  vacation and holiday funds payments received on behalf of such Employees by the

  other funds; to disburse to other vacation and holiday funds payments received on
                                                                                                I
  behalf of employees not normally covered under this Fund to permit those employees

  to receive credit in such other vacation and holiday funds;

                    (w)    merge this Fund into or with another vacation and holiday

  fund or to accept the transfer of all or a portion of the assets of another vacation and

  .holiday fund in accordance with the provisions of ERISA;

                    (x)    establish policies, rules and procedures which the Trustees

  'determine to be necessary to accomplish the purposes of this Trust Agreement and
                                                                                                    i
  ,which are not inconsistent with-the terms o.f this Trust Agreement;                          - !


                    (y) exercise their discretionary authority to make all determinations

  concerning initial and continuing participation of employees and employers in this

  Fund, benefit coverage, eligibility, type, amount and duration of benefits;

                    (z)    do any and all acts, whether or not expressly authorized in

  this Trust Agreement, which the Trustees determine to be necessary to accomplish

  the general objective and purpose of providing vac'ation and holiday          and related

  benefits to Employees.

                    Section 5.    Personal Liability.     Except to the extent liability is




                                             19
Case 1:17-cv-00245-DLI-VMS        Document 16-7       Filed 09/28/17    Page 21 of 40 PageID
                                         #: 213




                                                                                               I
                                                                                               I
   imposed by ERISA, no Trustee will be liable or responsible for his own acts or for any      I
   acts or defaults of any other fiduciary or party in interest or any other person.

                     The Trustees, to the extent permitted by applicable law, will not

   incur liability by acting on any document which they believe to be genuine and to

   contain a true statement of facts and, if applicable, to be signed by the proper

   person.

                     Section 6.     Reliance on Written Instruments and Professional

   Advice. Any Trustee, to the extent permitted by ERISA, may rely upon any written

   document purporting   to· have been signed by a majority of the Trustees as conclusive
   evidence of the fact that a majority of the Trustees have taken the action stated to

  have been taken in such document.

                    The Trustees may, from time to time, consult with the Trust Fund's

  legal counsel, actuary and any other professionals. To the extent permitted by ERISA,

  the Trustees will be protected in acting upon the advice of such professionals.

                    Section 7. Reliance by Others. No party dealing with the Trustees              I
                                                                                                   I
  will be obligated to see that the funds or property of the Trust Fund are applied to the
                                                                                                   I
  stated purposes of the Trust, to see that the terms of this Trust Agreement have

  been complied with or to review the necessity of any act of the Trustees.             A

  document executed by the Trustees will be conclusive evidence in favor of any

  person relying on such a document that at the time the document was executed, the




                                              20
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17    Page 22 of 40 PageID
                                        #: 214




   Trust was in full force and effect, that the document was executed in accordance

   with the terms and conditions of this Trust Agreement, and that the Trustees were

   authorized and empowered to execute the document.

                    Section 8. Books of Account. The Trustees or their agent will keep

   true and accurate books of account and records of all transactions of the Trust Fund

   which will be open to the inspection of each of the Trustees at all times and which

   will be audited at least annually and at such other times as the Trustees determine it

   to be appropriate by a certified public accountant selected by the Trustees.      Such

   audits will be available at all times for inspection by the Association, Employers, the

   Union and the Employees or their Beneficiaries at the principal office of the Trust

   Fund.

                    Section 9.     Surety Bonds.     The Trustees and any- agents or

   employees who are empowered and authorized to sign checks and handle monies of

  the Trust Fund will be bonded by an authorized s1,1rety company qualified to write

  such bonds.    The Trustees may also bond such other agents or employees of the

  Trust Fund as they determine to be appropriate. The cost of the premiums of such

  bonds will be paid out of the Trust Fund. The bonds will be in the amounts required

  by applicable law.

                    Section 10. Execution of Documents.       In the course of operating

  the Trust Fund the Trustees will execute documents in the name of the Plumbers




                                             21
Case 1:17-cv-00245-DLI-VMS         Document 16-7      Filed 09/28/17    Page 23 of 40 PageID
                                          #: 215




  Local 1 Vacation and Holiday Fund. Documents may be signed by the Co-Chairmen,

  or one or more Trustees authorized by resolution. Documents executed as provided

  above are binding on the Trustees and the Trust Fund.

                                        ARTICLE VI
                               Payments TO THE TRUST FUND

                      Section 1 . Payments Held in Trust. The Trustees will receive and

  hold the payments provided for in this Trust Agreement and any other money or

  property which may be entrusted to them, as Trustees, with the powers and duties ·

  and for the uses and purposes set forth in this Trust Agreement. Neither the Union,

  the Association, the Employers, Employees, or Beneficiaries will have any right, title

  or interest in or to the Trust Fund or any part of the Trust Fund except as required by

  Jaw.

                      Section 2.   Encumbrance of Benefits.     The Plumbers Local Union

  No. 1 Vacation and Holiday Fund is an irrevocable trust for the sole and exclusive

  benefit of the Employees and their Beneficiaries who are entitled to benefits under the
                                                                                               I
  Plan of Benefits.

                      All of the assets of the Trust Fund will be free from the interference

  and control of any creditor of the Union, the Association, the Employers, Employees

  or Beneficiaries except as may be required by law.        No. benefits will be subject to

  assignment or other anticipation, nor subject to seizure or to sale under any legal,




                                               22
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17    Page 24 of 40 PageID
                                        #: 216




   equitable or other process except as may be specifically required in accordance with

  applicable law. Except as required by law, if any claim or benefit becomes or may

  become payable to any person other than the Employee or Beneficiary entitled to the

  benefit, the Trustees have the power to withhold payment of the benefit to the

  Employee or Beneficiary until the assignment, encumbrance, anticipation or other

  legal process is canceled or withdrawn in a manner satisfactory to the Trustees.

  Until so canceled or withdrawn, the Trustees have the power and discretion to use

  and apply the benefits directly for the support and maintenance of the Employee or

  Beneficiary.

                    Except as required by law, ~;~hy Employers payments and payments

  due and owing to the Trust Fund are not and will not be considered wages due to

  .\Employees. The Trust Fund will not be liable for or-subject to the debts, contracts or

  liabilities of the Union, the Association, Employers, Employees or Beneficiaries.

                    No Employee or Beneficiary has the right to receive any part of the
                                                                                             I
  assets of this Trust Fund, except as provided by the Plan of Benefits.                     I
                    Section 3. Rate of Payments.      Each of the Employers will pay to

  the Trustees or to an agent designated by the Trustees the amount of money as

  established and provided for in Collective Bargaining Agreements. An Employer will

  also be obligated to pay the amounts established in such agreements following the

  expiration of a Collective Bargaining Agreement if the Employer is under a duty to pay




                                             23
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17    Page 25 of 40 PageID
                                        #: 217




   such amounts pursuant to an obligation arising under the National Labor Relations

   Act.. The. obligations of each Employer under this Trust Agreement will be binding

   upon the Employers' successors and assigns to the extent provided by law.

                    Section 4. Mode of Payment and Reports. All payments required

   by the Collective Bargaining Agreements as defined in Article I, Section 1 will be paid

  to the Trustees in the manner and form determined by the Trustees. The Employer

   will make all reports on payments required by the Trustees in the performance of

  their duties under this Trust Agreement.

                    The Trustees may, at any time, designate a qualified representative

  to conduct an audit of the payroll, wage and other records of any Employer to permit

  the Trustees to determine whether the Employer is making full payments to the Trust

  . Fund in the amounts required by the Collective Bargaining Agreement.     Any data or

  information provided to the Trustees by an Employer or by the Union will be kept

  confidential and may not be disclosed by the Trustees to any third person, unless the

  Trustees decide that disclosure is necessary for the proper administration of the

  Fund.

                    Section 5.    Presumptions Which Apply Where Records Are Not

  Sufficient.   Employers bound to this Trust Agreement are required to keep records

  that are sufficient to allow the Fund's representative and/or auditor to determine

  which Employee pedormed work for which payments were required to be made to




                                             24
Case 1:17-cv-00245-DLI-VMS       Document 16-7    Filed 09/28/17    Page 26 of 40 PageID
                                        #: 218




  the Fund by the Employer and how many hours of such work were performed. If the

  Fund's repre_sentative and/or auditor determines that the Employer's records ·are not

  sufficient for this purpose, it will be presumed that any individual who performed

  work for which payments were required to be made to the Fund by the Employer

  during the period covered by the audit, spent his entire time performing such work.
                                                                                           I
                                                                                           f·
  Therefore, unless other records are available. to determine hours worked, a              I
  delinquency based on the work performed by such a person will be calculated by

  dividing the person's total compensation from the Employer by the applicable wage        ,·
  rate under the Collective Bargaining Agreement and multiplying by the appropriate

  rate of payment.

                     Section 6. Default in Payment. Each Employer is responsible only

  for making payments that it is obligated to make on behalf of its Employees under its

  Collective Bargaining Agreement except as provided in this Trust Agreement.     If an

  Employer does not pay any        payment when due this will not relieve any other

  Employer of his obligation to make payments. Non-payment by one Employer of any
                                                                                            l
  amount when due does not impose on any other Employer, the Association or the
                                                                                               I
  Union any obligation with respect to such payments.

                     Regular, prompt and correct payment of amounts due by individual

 . Employers to this Fund is essential for the maintenance of the Fund. It is extremely

  difficult, if not impossible, to establish the actual expense and damage to the Fund




                                           25
Case 1:17-cv-00245-DLI-VMS          Document 16-7   Filed 09/28/17   Page 27 of 40 PageID
                                           #: 219




  and to the benefit program provided by the Fund which will result from the failure of

  an individual Employer to make payments in full within the specified time period

  established by the Trustees. Therefore, payments and the completed reporting forms

  are due by the twentieth (20'hl day following the end of each calendar month. If an

  Employer does not file a report or make payments within ten (1 0) calendar days of

  the due date, the following, in the discretion of the Trustees, will be added to and

  become a part of the amount due from the Employer: (1) liquidated damages for each

  monthly report or payment due in the amount of twenty percent (20%) of the

  amour.tt due, plus interest at the rate of twelve percent (12%1 from the due date to

  the date of payment; or (2) double interest as provided in ERISA. If an audit of an

  Employer's records discloses payments due to the Fund, the Employer will also be

  obligated to pay the audit fee.

                   The Trustees have the power to take any action necessary to

  enforce the payment of amounts due, which may include filing or intervening in any

  legal, equitable or administrative proceedings.   All reasonable expenses incurred by

  the Trust Fund to enforce the payment of amounts due, including but not limited to,

  reasonable attorneys' fees, accountants' or auditor's fees and court costs will be

  added to the amount owed by the delinquent Employer in addition to the amount of

  payments due and the liquidated damages and interest provided for above.         The

  Trustees have the authority to settle or compromise any claim, suit, or legal action




                                             26
      Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17     Page 28 of 40 PageID
                                              #: 220




        for less than full amount due or to waive amounts due or determine amounts due to

        be uncollectable when in the Trustees' discretion they determine it to be in the best

        interest of the Fund.

                          The Trustees or a committee appointed by the Trustees have the

        discretion to adopt such rules and procedures concerning payments to the Fund,

        audits, liquidated damages and to enforce the collection of delinquent payments as
                                                                                                    I
        they determine to be necessary. The Trustees may, in their discretion, require a bond       I
        or deposit as security for the prompt future payment of amounts due to the Fund.            I

        The Trustees may, in their discretion, adopt special rules, including but not limited to,

        more :frequent reporting and payment of payments in the event an Employer has been

        repeatedly delinquent or based on the Employer's financial condition, if the Trustees

i .     ·determine that this is necessary to prevent or limit the size of a current or potential

        delinquency.

                          Section 7. Projection of Delinquency. Where an Employer is two or
                                                                                                    I
        more months delinquent in making the payments required on behalf of his Employees               I




        and has not submitted the required documents showing the Employees who worked                   I
        for him and the hours worked, the Trustees may project as the amount of the

        delinquency the greater of (a) the average of the monthly payments or reports

        actually submitted by the Employer for the last three (3) months for which'payments

        or repqrts were submitted or (b) the average of the monthly payments or reports




                                                   27
Case 1:17-cv-00245-DLI-VMS      Document 16-7      Filed 09/28/17    Page 29 of 40 PageID
                                       #: 221




   submitted by the Employer for the last twelve (12) months for which payments or

   reports were _submitted. This projection of delinquency may be made in place of a

  demand for production of payroll documents, or if the Employer fails to provide such

  documents, in place of an audit. The projection may be used as a determination of

  payments due for each delinquent month, and may be used for purposes of any

  lawsuit, and no other proof need be provided by the Trustees to any court or

  arbitrator to compute the total payments due from the Employer for all delinquent

  months, exclusive of liquidated damages, interest, attorneys' fees and costs set out
                                                                                            I
  in this Article. This provision does not, however, limit the Trustees from seeking a

  greater amount than the projected delinquency if a greater amount is shown to be

  ·owed.by records or other evidence.
                                                                                            I
                                       ARTICLE VII
                                                                                            I
                                    PLAN OF BENEFITS                                        i

                   Section 1. Benefits. The Trustees have full discretion and authority

  to adopt a Plan of Benefits which includes the eligibility requirements, type, amount

  and duration of benefits that are to be provided equally and without discrimination to

  eligible Employees and Beneficiaries, based on what the Trustees determine to be

  within the financial limitations of the Trust Fund. However, only vacation and holiday,

  and related benefits, may be provided for under this Trust Agreement.

                   Section 2. Eligibility Requirements for Benefits. The Trustees have




                                            28
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17    Page 30 of 40 PageID
                                        #: 222




  full discretion and authority to determine the eligibility requirements for benefits

  provicjed by the Fund. They have full discretion and authority to adopt rules stating

  the eligibility requirements which will be binding on the Union, the Association,

  Employers, Employees, Beneficiaries and dependents and any other persons making

  claims.·

                    Section 3. Written Plan of Benefits. The detailed basis on which

  payment of benefits is to be made pursuant to this Trust Agreement will be stated in

  the Plan of Benefits.    The Plan of.. Benefits may be changed or modified by the

  Trustees at any time as the Trustees, in their discretion, determine is necessary

  based on the financial condition of the Fund, the needs of Employees and

  Beneficiaries and other related facts and circumstances. Any change or modification

  of the Plan of Benefits made by the Trustees will be stated in writing.

                    Section 4. Government Agency Approval. The Trust and the Plan

  of Benefits adopted by the Trustees will be structured and operated to continue to

  qualify for approval by the Internal Revenue Service as a tax exempt Trust and Plan

  to ensure that the payments made by Employers to the Fund are proper deductions

  for income tax purposes. In addition, the Plan of Benefits adopted by the Trustees

  will be structured and operated to continue to qualify for approval by any other

  agency as may be required by applicable law. It is the intention of the Trustees to

  fully comply with all requirements of the Internal Revenue Code and ERISA.       The




                                             29
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17    Page 31 of 40 PageID
                                        #: 223




   Trustees are authorized to file whatever applications and forms are necessary with ·

   the Internal Revenue Service or other agency to receive and maintain approval of the
                         '
   Trust and Plan of Benefits.

                    Section 5.     Limitation of Employer's and Union's Obligations.

   Neither any Employer, nor the Association, nor the Union have any responsibility for

   the payment of any benefit under the Plan of Benefits.         The obligation of each

  · Employer under the Plan is a separate one and is limited to paying into the Trust Fund

   the amounts that the Employer is obligated to make on behalf of its own Employees

   and other payments under the provisions of the applicable Collective Bargaining

   Agreement and under the provisions of this Trust Agreement.
                                                                                             I
                                    ARTICLE VIII
                                                                                             !.
                             CONTROVERSIES AND DISPUTES

                    Section 1.      Reliance on Records.       In connection with any

   controversy, claim, demand, lawsuit or other proceeding between the Union, the

   Association, any Employer, Employee, Beneficiary or any other person and the

   Trustees, the Trustees are entitled to rely to the extent permitted by ERISA, on any
                                                                                             I
   fa<;ts that appear in the records ·of the Trustees; any documents on file with the
                                                                                             I
   Trustees, with the Union or the Association or with the Employers; any facts certified

   to the Trustees by the Union the Association or an Employer; any facts which are in

   the public record and any other evidence pertinent to the issue involved.




                                             30
Case 1:17-cv-00245-DLI-VMS       Document 16-7        Filed 09/28/17   Page 32 of 40 PageID
                                        #: 224




                     Section 2. Submission to Trustees. All questions or controversies

  of any type that arise· in any manner or between any persons in connection with the

  Trust Fund or the operation of the Trust Fund including, but not limited to, a claim for

  benefits by an Employee, Beneficiary or any other person, or concerning the

  interpretation of the language or meaning of the Plan of Benefits or this Trust

  Agreement or the rules and procedures adopted by the Trustees, or concerning any

  decision, document or account in connection with the operation of the Trust Fund or

  otherwise, will be submitted to the Trustees and the decision of the Trustees will be

  binding upon all persons dealing with the Trust Fund or claiming benefits under the

  Trust Fund.

                    Section 3.   Settling Disputes.     The Trustees may, in their sole

  discretion, compromise or settle any claim or controversy in the manner that they

  determine to be in the best interest of the Fund. Any decision made by the Trustees

  to compromise or settle a claim or controversy, or any compromise or settlement

  agreement entered into by the Trustees, will· be final and binding on all parties

  interested in this Trust.

                    Section 4.   Withholding Payment.      If a question or dispute arises

  concerning the proper person or persons to whom a payment is to be made under the

  Plan of Benefits or this Trust, the Trustees may withhold the payment until there has

  been an adjudication of the question or dispute which is satisfactory to the Trustees'




                                            31
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17    Page 33 of 40 PageID
                                        #: 225




   in their sole judgment or until the Trustees have been fully protected against loss by

   an indemnification agreement or bond which the Trustees, in their sole judgment,

  determine is adequate.

                                        ARTICLE IX
                                       ARBITRATION

                    Section 1. Application of this Article. If the Trustees cannot decide

   any matter, issue or dispute because there is no quorum at two (2) successive regular

   or special meetings of the Trustees, or because there is a tie vote between the

  .Employer Trustees and Union Trustees at any meeting, then, in either event, the

  Employer Trustees and the Union Trustees will attempt to agree upon the designation

  of an impartial umpire to decide the dispute.     If, within thirty (30) days after the

  occurrence of either of the two events referred to above the Union Trustees and the

  Employer Trustees fail to agree upon the selection of an impartial arbitrator, then the

  Union Trustees or Employer Trustees may request the American Arbitration

  A:;sociation to submit a panel of five (5). arbitrators from which the disputing parties

  will choose one (1). The decision of the impartial arbitr~tor will be final and binding

  on all parties and persons concerned.

                    Section 2.   Expenses of Arbitration. All reasonable and necessary

  costs and expenses in connection with the proceedings before the impartial arbitrator,

  including the fee, if any, of the impartial arbitrator and including attorneys' fees




                                             32
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17    Page 34 of 40 PageID
                                        #: 226




   incurred by the Trustees in connection with the dispute which are mutually agreed

   upon by the Union Trustees and Employer Trustees, is a proper charge against the

   Trust Fund and the Trustees are authorized and directed to pay such charges.

                    Section 3.   Status of Arbitrator.   An impartial arbitrator or umpire

  agreed upon or appointed to decide any matter relating to the administration of the

  Trust Fund or Plan of Benefits will be a fiduciary to the extent provided by ERISA or

  court or agency interpretations of ERISA.

                                    ARTICLE X
                          EXECUTION OF TRUST AGREEMENT

                    Section 1. Counterparts. This Trust Agreement may be executed in

  ·one or more counterparts.     The signature of a person on any counterpart will be

  sufficient evidence of his execution of the Trust Agreement.

                    Section 2. Written Instruments. Employers, as defined in Article I,
                                                                                             I
  Section 4, may adopt and become a party to this Trust Agreement by signing a
                                                                                             I
  Collective Bargaining Agreement in which the Employer agrees to participate in the

  Trust Fund under the terms of this Trust Agreement and the rules and procedures

  adopted by the Trustees.

                                  ARTICLE XI
                         AMENDMENT TO TR.UST AGREEMENT

                   Section -1. Amendment by Trustees. The provisions of this Trust

  Agreement may be amended to any extent and at any time by a document in writing




                                              33
Case 1:17-cv-00245-DLI-VMS        Document 16-7         Filed 09/28/17   Page 35 of 40 PageID
                                         #: 227




  adopted by a majority of the Union Trustees and a majority of the Employer Trustees.

   It is expressly understood and agreed that no amendment will direct any of the trust

  assets then in the hands of the Trustees from the purposes and objects of the Trust

  Fund.

                    Section 2.    Retroactive Effect.    The Trustees have full power and

  discretion to establish the effective date of any Amendment. Any Amendment may

  have retroactive effect if it is determined to be necessary by the Trustees.

                                       ARTICLE XII
                                  TERMINATION OF TRUST

                    Section 1 .    By the Trustees.        This Trust Agreement may be

  terminated by a document in writing adopted a majority of the Union Trustees and a

  majority. of the Employer Trustees if any one or more of the following events occur:

                    (a)   if, in the opinion of the Trustees, the Trust Fund is not

  adequate to carry out the intent and purpose of this Trust Agreement, or is not

  adequate to meet the payments due or which may become due under the Plan of

  Benefits;

                   (b)    if there are no individuals living who can qualify as Employees

  or Beneficiaries under this Trust Agreement;

                   (c)    if Collective Bargaining Agreements requiring payments to the

  Trust Fund are no longer in force and effect.




                                             34
Case 1:17-cv-00245-DLI-VMS          Document 16-7     Filed 09/28/17      Page 36 of 40 PageID
                                           #: 228




                    Section 2.      Procedure on Termination.      If this Trust Agreement is

   terminated, the Trustees will:

                    (a)      provide for the payment out of the Trust Fund of expenses

   incurred up to the ·date of termination of the Trust and the expenses in connection

   with the termination;

                    (b)      arrange for a final audit and report of their transactions and

   accounts for the purpose of terminating their Trusteeship;

                    (c)      give any notice and prepare and file any reports which may

  cbe required by law; and

                    (d)      apply· the Trust Fund in accordance with the provisions of the

   Plan of Benefits Including amendments adopted as part of the termination until the

   Fund is disbursed.

                    No part of the corpus or income of the Trust Fund will be used for

  or diverted to purposes other than for the exclusive benefit of the Employees and the

   Beneficiaries or the administrative expenses of the Trust Fund.                Under no

  circumstances will any portion of the Trust Fund revert or inure to the benefit of any

  contributing Employer, the Association or the Union either directly or indirectly.

                    Section 3.      Notification of Termination.    Upon termination of the

  Trust Fund under this Article, the Trustees will promptly notify the Union, the

  Association, Employers, and all other interested parties. The Trustees will continue




                                               35
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17    Page 37 of 40 PageID
                                        #: 229




   as Trustees for the purpose of winding up the affairs of the Trust Fund.

                                      ARTICLE XII
                              MISCELLANEOUS PROVISIONS

                    Section 1. Termination of Individual Employers. An Employer will

   cease to be an Employer within the meaning of this Trust Agreement when he is no

   longer obligated, pursuant to a Collective Bargaining Agreement, to make payments

   to this Trust Fund.

                    Section 2. Situs. The State of New York is the situs of the Trust

   Fund established by this Trust Agreement.        All questions pertaining to validity,

   construction and administration of this Trust Fung will be determined in accordance

   with the laws of the State of New York to the extent not preempted by the laws of

  the United States.

                    Section 3. Construction of Terms. Wherever any words are used in

  this Trust Agreement in the masculine gender, they will be interpreted and applied as

  tjlough they are also used in the feminine or neuter gender, in all situations where

  this would apply.      Wherever any words are used in this Trust Agreement in the

  singular form, they will be interpreted and applied as though they are also used in the

  plural form in all situations where this would apply. Wherever any words are used in

  this Trust Agreement in the plural form, they will be interpreted and applied as

  though they are also used in the singular form in all situations where this would




                                            36
Case 1:17-cv-00245-DLI-VMS         Document 16-7    Filed 09/28/17   Page 38 of 40 PageID
                                          #: 230




   apply.

                     Section 4. Notice. Any notice required to be given to one or more

   of the Trustees pursuant to any provision of this Trust Agreement will be deemed to

   have been given if it is mailed to the Trustee or Trustees at the most recent address

   of the Trustee on file with the Trust Fund.

                     Section 5. Severability. If any provision in this Trust Agreement,

  the Plan of Benefits or rules and procedures adopted thereunder, or in any Collective

  Bargaining Agreement, is determined to be illegal or invalid for any reason, this

  determination will not affect other provisions contained in those documents, unless

  the determination concerning the illegal or invalid provision would make the

  functioning of the Trust Fund or the Plan of Benefits impossible or impractical.     In

  such case, the appropriate parties will promptly adopt a new provision to take the

  place of the illegal or invalid provision.

                     Section 6. Refund of Payments.     In no event, will any Employer,

  directly or indirectly, receive any refund of payments rnade by him to the Trust Fund

  except as provided in ERISA. Under no circumstances will any portion of the Trust

  Fund revert or inure to the benefit of any contributing Employer, the Association or

  the Union either directly or indirectly.

                    Section 7. Article and Section Titles. The Article and Section titles

  are included solely for convenience and will not be interpreted to affect or modify any .




                                               37
Case 1:17-cv-00245-DLI-VMS       Document 16-7      Filed 09/28/17      Page 39 of 40 PageID
                                        #: 231




  provision of this Trust Agreement or be interpreted as provisions of this Trust

  Agreement.

                    Section 8.    Benefits Payable from Trust Fund Only.          Benefits

  provided for by this Trust Agreement and/or the Plan of Benefits are only payable to

  the extent there are assets in the Fund to pay such benefits; Neither the Trustees,

  nor the Union, the Association or Employers guarantee the payment of benefits, in

  the event the assets of the Fund are insufficient for this purpose.

                    Section 9.    Complete Agreement.       The provisions of this Trust

  .Agreement exclusively will define the powers, duties, rights and obligations of all

  persons who have a relation to the Trust, except that the amount of the employer

  payments will be provided for in Collective Bargaining Agreements.

                    IN WITNESS WHEREOF, the undersigned have adopted and

  executed this document, as evidence of their acceptance of ~7 Trust hereby

  established and their agreement to be bound by the Trust this   .LSta? of &pfe.;n}j'e/2.
  _, 1999.



  PLUMBERS LOCAL UNION NO. 1                          ASSOCIATION OF CONTRACTING
                                                      PLUMBERS OF THE CITY OF NEW

                                                     YOjz7 ~ L v_d/t;
                                                      .1t.a-C ra/~ ,d;-v


                                             38
    Case 1:17-cv-00245-DLI-VMS   Document 16-7   Filed 09/28/17   Page 40 of 40 PageID
                                        #: 232




                                                                                         I
                                                                                         I




(




                                          39
